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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

THOMSON REUTERS ENTERPRISE                       )
CENTRE GMBH and                                  )
WEST PUBLISHING CORPORATION,                     )
                                                 )
                       Plaintiffs,               )   C.A. No. ___________
                                                 )
       v.                                        )   DEMAND FOR JURY TRIAL
                                                 )
ROSS INTELLIGENCE INC.,                          )
                                                 )
                       Defendant.                )

                                          COMPLAINT

       Plaintiffs Thomson Reuters Enterprise Centre GmbH (“Thomson Reuters”) and West

Publishing Corporation (“West”) (collectively, “Plaintiffs”), for their Complaint, hereby allege

against Defendant ROSS Intelligence Inc. (“ROSS”) as follows:

                                     NATURE OF THE ACTION

       1.        Plaintiffs created and nurtured their well-known Westlaw product since its

inception, including without limitation its unique West Key Number System (“WKNS”) and

West Headnotes (collectively, “Westlaw Content”). ROSS is attempting to create a business by

taking for itself critical features of Westlaw, without permission from or compensation to

Plaintiffs. Upon information and belief, ROSS illicitly and surreptitiously used a then-Westlaw

licensee to acquire access to and copy Plaintiffs’ valuable content. ROSS did so, not for the

purposes of legal research, but to rush out a competing product without having to spend the

resources, creative energy, and time to create it itself. The net result is that Plaintiffs are now

being put in the unfair position of having to compete with a product that they unknowingly

helped create.
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        2.       This action seeks to recover damages that Plaintiffs have suffered and to prevent

the irreparable harm that continues to threaten them as a result of ROSS’s deceitful and willful

copying of Plaintiffs’ copyrighted content and organization, as well as ROSS’s tortious

interference with contract.

        3.       Specifically, upon information and belief, ROSS intentionally and knowingly

induced a third-party called LegalEase Solutions, LLC (“LegalEase”)—a legal support services

company—to breach its contract with West by engaging in the unlawful reproduction of

Plaintiffs’ copyrighted content and distribution of that content en masse to ROSS. ROSS did so

after asking for and explicitly being denied access to Westlaw by West on the basis that West

does not give competitors access to its products. Thus, ROSS induced LegalEase to engage in

this unlawful activity, knowing that it violated the terms of LegalEase’s contract with West and

that West would not grant ROSS a license to use Plaintiffs’ content to create a competing

product.      ROSS committed direct copyright infringement by reproducing and creating a

derivative work based on Plaintiffs’ content, and is also secondarily liable for LegalEase’s

copyright infringement.

        4.       In short, ROSS has engaged, and continues to engage, in a pattern and practice of

knowingly, intentionally, and willfully infringing Plaintiffs’ copyrights. Further, it is obvious

from the roundabout and deceitful tactics ROSS employed to gain access to Westlaw, , that it

was aware what it was doing was improper, and without authorization or consent from the

Plaintiffs.

        5.       Hence, due to ROSS’s blatant and willful infringement, Thomson Reuters and

West file this lawsuit seeking injunctive relief and damages that they have suffered as a result of

ROSS’s direct, contributory, and vicarious copyright infringement under the Copyright Act of




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1976, 17 U.S.C. § 101 et. seq., and intentional and tortious interference with contractual

relations.

                                           PARTIES

        6.     Plaintiff Thomson Reuters Enterprise Centre GmbH is a limited liability company

having its principal place of business in Zug, Switzerland. It is the owner of the copyrights in

and to Westlaw Content.

        7.     Plaintiff West Publishing Corporation is a Minnesota corporation having its

principal place of business at 610 Opperman Drive, Eagan, Minnesota 55123. West creates and

authors Westlaw Content.

        8.     Defendant ROSS Intelligence Inc. is a corporation organized and existing under

the laws of the State of Delaware and having an office in San Francisco, California.

                                JURISDICTION AND VENUE

        9.     This action arises under the Copyright Act of 1976, 17 U.S.C. § 101 et. seq. and

Delaware law. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1338 and 1367.

        10.    Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400.

               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

I.      Plaintiffs and the Creativity of Westlaw

        11.    Plaintiffs are well-known as industry leaders in online legal research. Westlaw, in

particular, offers to West’s subscribers access to a comprehensive collection of legal information

that is easily searchable through keywords, natural language, and/or Boolean inquiries, backed

by a rigorous editorial process that makes navigating the legal field simple.            Editorial

enhancements, such as Plaintiffs’ proprietary West Headnotes, notes of decisions, and the

WKNS are but a few examples of the creative and original material authored by West’s

dedicated attorney-editors. Westlaw makes legal research seamless through its well-designed


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structure, sequence, and organization. Below is Westlaw’s home page, which helps subscribers

easily navigate to the exact information for which they are looking.

                                     Westlaw’s Home Page




       12.     Integral to Westlaw is Plaintiffs’ WKNS, which organizes U.S. law using a

hierarchy that is unique to Plaintiffs. The WKNS is the backbone through which thousands of

lawyers conduct legal research. The development of the WKNS, beginning in print and now in a

digital format, has been and continues to be the result of Plaintiffs’ numerous creative choices

about how to organize cases and which cases to place in that classification, requiring substantial

investments of time, technological and human resources, and money over the course of decades.

Below is the WKNS home page that can be navigated by Westlaw subscribers.




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                                     The WKNS Home Page




       13.     As an example of Plaintiffs’ complex hierarchy, within the “Abandoned and Lost

Property” topic are the Key Numbers “Nature and elements,” “evidence and questions for jury,”

and “operation and effect.” Within the “Nature and elements” Key Number are Key Numbers

assigned to the legal issues and points of law “In general,” “Intent,” and “Acts and omissions”

topics. The “In general” Key Number is delineated 1k1.1, and currently contains 603 cases.

Nothing dictated the hierarchy that Plaintiffs created as cases, topics, legal issues, and points of

law could be arranged in an unlimited number of combinations.

       14.     As decisions are issued, West’s attorney-editors—all of whom are bar-admitted—

carefully review them and create original West Headnotes to describe the key concepts discussed

in the case. West’s attorney-editors then integrate those West Headnotes into the WKNS so

subscribers can easily find the latest decisions on any given topic or issue. Moreover, West’s

attorney-editors regularly edit and revise the West Headnotes and the West Key Numbers of

previously integrated cases so that subscribers can trust the accuracy and timeliness of the

information that is offered.


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       15.     Westlaw includes access to volumes of proprietary material (such as West

Headnotes, case summaries, and other Westlaw-created content), databases, and compilations of

case law, state and federal statutes, state and federal regulations, law journals, treatises, and other

resources—all organized and curated by West’s editorial team. Westlaw incorporates decades of

search and editorial intelligence with the latest technological innovations to bring its subscribers

the most comprehensive legal research platform on the market. Below is an example of West

Headnotes describing the key concepts discussed in the Harper & Row case, as well as the

manner in which subscribers can see and further navigate to corresponding West Key Numbers.




       16.     The WKNS adds immeasurable value to Westlaw.                 It is how thousands of

professionals learn to navigate and conceptualize the legal field and is what helped position

Westlaw as the leading legal research service.

       17.     Plaintiffs take great care in deciding who they permit to access Westlaw and what

those with access are allowed to do with it. Plaintiffs have invested hundreds of millions of

dollars in Westlaw and thus take measures, such as those limitations set forth in West’s

Subscriber Agreements, to protect the proprietary nature of Westlaw Content.



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         18.   Specifically, each of West’s Subscriber Agreements with third parties—like the

one it entered into with LegalEase (the “Service Agreement”)—provides precisely what third

parties are and are not allowed to do with Westlaw content. Critically, the Service Agreement

provides that a subscriber “may not sell, sublicense, distribute, display, store or transfer [West’s]

products or any data in [its] products in bulk or in any way that could be used to replace or

substitute for [its] products in whole or in part or as a component of any material offered for sale,

license or distribution to third parties.” Moreover, although a subscriber may “store, on a matter-

by-matter basis, insubstantial portions of [Westlaw content]… in connection with an active

matter being handled by Subscriber in its regular course of business,” the amount stored must

“(a) have no independent value other than as part of Subscriber’s work product; and (b) c[an] not

be used in any way in whole or in part as a substitute for any service or product provided by

West.”     Similarly, although a subscriber may “on an occasional basis and via Product

functionality, direct West to transmit individual documents in electronic format to… individual

third parties in connection with actual, ascertainable matters being handled by Subscriber…. [a]ll

other direct transmission of electronic copies by Subscriber is prohibited.” Finally, the Service

Agreement provides that a “Subscriber shall not copy, download, scrape, store, publish, post,

transmit, retransmit, transfer, distribute, disseminate, broadcast, circulate, sell, resell, license,

sublicense or otherwise use [Westlaw content], or any portion of [Westlaw content], in any form

or by any means except as expressly permitted by [the License Grant], or as otherwise expressly

permitted in writing by West.”

         19.   As these restrictions show, although Westlaw subscribers are permitted to use

Westlaw in certain ways, they are expressly prohibited from using Westlaw Content to create a

competitive product or to sell the Plaintiffs’ proprietary content to others. Westlaw, including




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Westlaw Content, is extremely valuable, and thus West is constantly monitoring user activity for

behavior that would breach the terms of its subscriber agreement—which is precisely how West

discovered ROSS’s unlawful infringement and covert activity.

II.      Plaintiffs’ Valuable Intellectual Property Rights in Westlaw

         20.    Plaintiffs have invested vast resources, including creativity, talent, time, effort,

and money, to create Westlaw Content. West employs attorney-editors whose sole responsibility

is to review decisions, create original and creative West Headnotes summarizing key points of

law, and organizing those cases and West Headnotes in the WKNS. In addition, the editors are

regularly reviewing existing West Headnotes and the WKNS to ensure the greatest accuracy in

light of the countless new cases that are added every day.

         21.    Cases, areas of law, legal topics, legal issues, subtopics, and subissues can all be

summarized and organized in a variety of different ways—the structure, sequence, and

organization of the WKNS is not something that has been achieved by accident or necessity;

rather, it is the result of decades of human creativity and choices.

         22.    To protect Westlaw, Thomson Reuters registers the database with the United

States Copyright Office every three months. For example, attached hereto as Exhibit A, and

incorporated herein by reference, are true and correct copies of certificates of registration issued

by the Copyright Office and other documents reflecting Westlaw’s registrations. They reflect the

effective date of registration, as well as the assigned registration numbers.

         23.    Thomson Reuters is the sole owner and proprietor of all right, title, and interest in

and to the copyrights in Westlaw. The copyrights in Westlaw are presently valid and subsisting

and were valid and subsisting at all times affecting the matters complained of herein.




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III.   ROSS Intelligence and Its Infringement of Westlaw

       24.     Upon information and belief, ROSS was founded in 2015 and is engaged in the

business of offering and providing to the public legal research services through its ROSS

platform.

       25.     Upon information and belief, ROSS first began by offering research services in

both bankruptcy and intellectual property law, but now offers case law, statutes, and regulations

across various practice areas and all 50 states.

       26.     Upon information and belief, as the screenshot below illustrates, ROSS’s users

are able to search for relevant law by posing a question in natural language, as opposed to

Boolean terms or key words.

                         Results of Natural Language Search on ROSS




       27.     Upon information and belief, similar to Westlaw, the ROSS platform provides

users with case summaries and treatments, as well as allows the user to use the initial search



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results as a jumping-off point to find additional cases with similar facts and/or procedural

postures.

        28.      Upon information and belief, to create a legal research platform that could

compete with Westlaw, ROSS needed to acquire vast amounts of legal content, descriptions of

that content, and a means by which to organize that legal content. ROSS knew that it would not

be granted access to Westlaw for such a purpose, so instead ROSS opted to gain access to

Westlaw through deceitful and undisclosed tactics.

        29.      Upon information and belief, to develop its platform, ROSS contracted with

LegalEase—a legal research and writing support services company. Because LegalEase only

provides research and writing services, not a competing legal research product like ROSS does, it

was able to obtain a limited license beginning in 2008 to use Westlaw to conduct legal research

for customers. The Service Agreement between LegalEase and West prohibited LegalEase from

running or installing any computer software on West’s products or network, as well as selling,

sublicensing, distributing, displaying, storing, or transferring Westlaw information in bulk to

third parties.

        30.      For years, LegalEase’s usage appeared to show that it abided by the terms of the

Service Agreement. That all changed in July 2017.

        31.      Prior to July 2017, LegalEase had consistently averaged approximately 6,000

Westlaw transactions per month.1 Beginning in about July 2017, LegalEase’s use of Westlaw

spiked dramatically, eventually reaching approximately 236,000 transactions per month, which,

as shown below, is nearly a forty-fold increase over LegalEase’s historical usage pattern and




1
       For the purposes of this complaint, a “transaction” refers to any executed search, as well
as any viewing, printing, downloading, or emailing of a specific document.


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represents a usage rate of nearly five times greater than the average monthly usage of the

“AmLaw 100” law firms.

                                  LegalEase’s Westlaw Usage2




        32.    Further investigation revealed that users of certain Westlaw credentials assigned

to LegalEase were exhibiting activity that indicated that computer software, or a “bot,” was

being used, and that it appeared as though content from Westlaw was being downloaded and

stored in bulk by said those software tools in violation of the Service Agreement. West observed

that LegalEase’s software was systematically making its way through the WKNS to, upon

information and belief, reproduce and store the manner in which the WKNS was organized.

        33.    Upon information and belief, LegalEase implemented this automated software,

materially breached its Service Agreement with West, and unlawfully reproduced and distributed

the copyright-protected Westlaw Content at the direction of and to benefit ROSS. In a July 2017

interview—the same time LegalEase’s Westlaw transactions began to skyrocket—LegalEase

stated that it was working with “a machine learning legal research firm,” later revealed to be

ROSS, to help create a new legal research product. LegalEase explained that it was feeding



2
        This graph is based on usage data West regularly tracks and records for its subscribers.


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ROSS with “tons and tons of legal research,” which, upon information and belief, was

copyrighted content from Westlaw, to help create ROSS’s competing product.

       34.     Upon information and belief, ROSS paid LegalEase to copy the Westlaw Content

from Westlaw to build ROSS’s competing platform, thereby knowingly and deliberately

instructing LegalEase to breach its Service Agreement with West. Upon information and belief,

LegalEase and ROSS have been working together since at least October 2015.

       35.     Upon information and belief, after LegalEase copied the Westlaw Content, it

distributed that content to Ross. Ross then copied that content and used it to create its platform.

       36.     By letter dated January 4, 2018, West terminated LegalEase’s Service Agreement

due to LegalEase’s material breach and violation of the Service Agreement. The effective date

of termination was January 17, 2018.

       37.     It is clear that by copying the copyright-protected Westlaw Content—

piggybacking off of the creativity, countless hours, and extraordinary expense that have gone

into creating Westlaw—ROSS drastically sped up its development time and reduced the cost

associated with the development of its competing platform.

       38.     Upon information and belief, ROSS’s copying has allowed it to forego the

immense expenditure of resources—including creativity, talent, time, effort, and money—that

otherwise would be required to create its competing platform as the algorithms comprising

ROSS’s platform function in a manner analogous to those of Westlaw.

       39.     Upon information and belief, unless enjoined by this Court, ROSS intends to

continue to infringe upon Plaintiffs’ copyrights and otherwise to profit from Plaintiffs’ works.

Accordingly, Plaintiffs have suffered irreparable damage. Plaintiffs have no adequate remedy at

law to redress all of the injuries that ROSS has caused, and intends to cause, by its conduct.




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Plaintiffs will continue to suffer irreparable damage until ROSS’s actions alleged above are

enjoined by this Court.

                                     CLAIMS FOR RELIEF

                                            COUNT I
                          Copyright Infringement (17 U.S.C. § 101 et seq.)

          40.   Plaintiffs repeat and reallege each and every allegation above as if fully set forth

herein.

          41.   Westlaw, including, without limitation, the Westlaw Content, is original and

creative. As a result, it constitutes copyrightable subject matter under the laws of the United

States.

          42.   Thomson Reuters is the owner of valid copyrights in Westlaw, and the Register of

Copyrights has issued certificates of registration for it. It has complied in all respects with 17

U.S.C. § 101, et seq., and has secured the exclusive rights and privileges in and to the copyrights

in Westlaw Content.

          43.   By its actions, alleged above, ROSS has infringed and will continue to infringe

the Westlaw Content’s copyrights by, inter alia, reproducing and creating a derivative work

using the Westlaw Content without any authorization or other permission from Plaintiffs.

ROSS’s direct infringement of Plaintiffs’ copyrights has been deliberate, willful, and in utter

disregard of Plaintiffs’ rights.

          44.   Moreover, as LegalEase clearly infringed Plaintiffs’ copyrights by reproducing

and distributing the Westlaw Content to ROSS, ROSS is contributorily liable for materially and

knowingly contributing to LegalEase’s infringement.         Upon information and belief, ROSS

induced LegalEase to infringe Plaintiffs’ copyrights by directly contracting with LegalEase to

reproduce and distribute Westlaw content to ROSS. Moreover, it knew that LegalEase was



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unlawfully reproducing and distributing the copyrighted Westlaw Content as ROSS received tens

of thousands of documents from LegalEase containing the Westlaw Content or materials based

thereon.

       45.     Further, ROSS is vicariously liable for LegalEase’s direct infringement. Upon

information and belief, ROSS had a financial interest in LegalEase’s direct infringement,

including, without limitation, significantly reducing the cost of development of its platform,

procuring investments in ROSS to which ROSS was not entitled, and avoiding the cost that

ROSS would have to pay to obtain this content. LegalEase was an agent of ROSS, and ROSS

exercised the requisite levels of control over the creation and distribution of the documents that

LegalEase sent to ROSS to support a finding of vicarious liability.

       46.      As a direct and proximate result of ROSS’s wrongful conduct, Plaintiffs have

been substantially and irreparably harmed in an amount not readily capable of determination.

Unless restrained by this Court, ROSS will cause further irreparable injury to Plaintiffs.

       47.     Plaintiffs are entitled to injunctive relief preventing ROSS, its agents and

employees, and all persons acting in concert or participation with it, from engaging in any further

infringement of Westlaw.

       48.      Plaintiffs are further entitled to recover from ROSS the damages, including

attorneys’ fees and costs, they have sustained and will sustain, and any gains, profits, and

advantages obtained by ROSS as a result of its acts of infringement as alleged above. At present,

the amount of such damages, gains, profits, and advantages cannot be fully ascertained by

Plaintiffs, but will be established according to proof at trial. Plaintiffs are also entitled to recover

statutory damages for ROSS’s willful infringement of its copyrights.




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                                          COUNT II
                              Tortious Interference with Contract

          49.   Plaintiffs repeat and reallege each and every allegation above as if fully set forth

herein.

          50.   A valid contractual relationship between West and LegalEase existed for nearly

ten years prior to ROSS’s inducement of LegalEase to breach the Service Agreement.

          51.   Upon information and belief, ROSS knew that LegalEase had a valid contract

with West—as apparent from the fact ROSS contracted with LegalEase to obtain the password-

protected and copyrighted content from Westlaw that ROSS was explicitly denied access to—

and intentionally instructed LegalEase to act in breach of that contract without justification.

          52.   Upon information and belief, ROSS knew that it would not be able to receive

permission from Thomson Reuters or West to access Westlaw, that Westlaw was secured behind

a paywall, and that LegalEase’s Service Agreement did not permit the naked reproduction and

distribution of copyrighted material from Westlaw.

          53.   As a result of ROSS’s intentional and tortious interference with West’s contract

with LegalEase, Plaintiffs have been damaged in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs Thomson Reuters and West respectfully request judgment in

their favor and against Defendant ROSS as follows:

          A.    Finding that ROSS has directly and indirectly infringed Plaintiffs’ copyrights in

                Westlaw;

          B.    Finding that ROSS’s infringement of Plaintiffs’ copyrights was willful;

          C.    Finding that ROSS has tortiously interfered with West’s contract with LegalEase;




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    D.    Finding that there is a substantial likelihood that ROSS will continue to infringe

          Plaintiffs’ copyrights unless enjoined from doing so;

    E.    Issuing a preliminary and permanent injunction enjoining ROSS, and its agents,

          servants, employees, attorneys, successors and assigns, and all persons, firms and

          corporations acting in concert with it, from directly or indirectly infringing

          Plaintiffs’ copyrights, including, but not limited to, offering ROSS’s legal

          research product;

    F.    Ordering the removal and destruction of Westlaw Content from ROSS’s legal

          research product;

    G.    Ordering ROSS to render a full and complete accounting to Thomson Reuters and

          West for ROSS’s profits, gains, advantages and the value of the business

          opportunities received from the foregoing acts of infringement;

    H.    Entering judgment for Plaintiffs against ROSS for all damages suffered by

          Plaintiffs and for any profits or gain by ROSS attributable to infringement of

          Thomson Reuters’ copyrights in amounts to be determined at trial;

    I.    Entering judgment for Plaintiffs against ROSS for statutory damages based upon

          ROSS’s willful acts of infringement pursuant to 17 U.S.C. § 504;

    J.    Entering judgment for Plaintiffs against ROSS for punitive damages based on

          ROSS’s tortious interference with the contractual relationship between LegalEase

          and West in amounts to be determined at trial;

    K.    Awarding Plaintiffs the costs and disbursement of this action, including

          reasonable attorneys’ fees and costs pursuant to 17 U.S.C. § 505;




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      L.      Awarding Plaintiffs pre-judgment and post-judgment interest, to the fullest extent

              available, on the foregoing; and

      M.      Granting such other, further and different relief as the Court deems just and

              proper.

                                DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury on all issues so triable.

                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                   /s/ Jack B. Blumenfeld

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